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                     Exhibit 28
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     Palestinian Government Continues                                                                            ADVERTISEMENT


     Payments to Terrorists Despite Cash                                                                                    INTRODUCING
                                                                                                                         THE SUPREME QUEEN
     Crunch
     Non-public State Department report to
     Congress discloses pay-to-slay operation

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                                        Palestinian president Mahmoud Abbas/ Getty Images
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     Adam Kredo - OCTOBER 30, 2020 5:15 PM

     The Palestine Liberation Organization continues to pay
     terrorists and their families from government coffers despite a
     massive cash crunch that has paralyzed the Palestinian
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     government, according to a non-public State Department
     report obtained by the Washington Free Beacon.

     Known as a policy of "pay to slay," the Palestinian government



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     Known as a policy of "pay to slay," the Palestinian government                                                  Titrpn
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     uses money from international donors and other aid groups to                                                                                              ACQUITTED
     financially support imprisoned terrorists and their families. The
     practice has long attracted international scorn and played a
     significant role in the Trump administration's 2018 decision to                                                                                                         $21.99
     cut nearly $200 million in U.S. funding to the Palestinian                                                             1.. Qua,. 11.43cr_t

     government. While the move was meant to pressure                                                               Di id
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     Palestinian leaders into ending the payments, the PLO has
     continued the practice under the radar, according to a recent
     report submitted by the State Department to Congress.

     "Despite fiscal constraints ... the [Palestinian Authority]
                                                                                                                 POPULAR STORIES IN POLITICS
     continued to make payments through the PLO to Palestinians
                                                                                                                                      I rk. ..1r....u.r."..1 .,,
     connected to terrorism," according to the report. "This is                                                                                     r     D
                                                                                                                                     ,Q
     despite Israel's decision to suspend extension of sovereignty                                                                    1    ,
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     into the West Bank. The recipients of the payments included
     Palestinian terrorists in Israeli prison, released Palestinian
     terrorists, and the families of Palestinians who were wounded
     or died while committing terrorist acts or in connection with
     terrorism."

     The continuation of these payments is likely to frustrate
     lawmakers and U.S. diplomats who have been working to                                                        AOC Spews Gloom on Cover of Vanity Fair:
                                                                                                                  America 'Still in a Lot of Trouble' if Biden
     make the Palestinian government solvent and more likely to
                                                                                                                  Wins
     engage in peace talks with Israel. While the State Department
     did not say how much the Palestinian government spends on                                                                                    mops
                                                                                                                                                  VOTE2020
     terrorists, outside groups put the         at upwards of $300
     million a year. The pay-to-slay program has been a major
     roadblock with Israel, which moved in February to fine any
     banks that facilitate these payments. Palestinian leaders,
     however, have vowed to continue supporting terrorists.                                                                                                                            A
                                                                                                                                    VICE PRESIDENTIAL DEBATE

     A State Department official, speaking on background,
                                                                                                                 Eliana Johnson: Pence Got the Better of
     confirmed the report's findings when contacted by the Free
                                                                                                                 Harris on Court Packing
     Beacon and said the U.S. government rejects the Palestinian
     government's continued policy of paying convicted terrorists.

     "The biannual Palestine Liberation Organization
     Commitments Compliance Act Report reflects the
     Department's findings of continued payments by the
     Palestinian Authority to Palestinians connected to terrorism,"
     the official said. "The United States strongly condemns the
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     families.
                                                                                                                 Harris: Eiden Admin Will Repeal Tax Cuts
     "The [Palestinian Authority] argues these transfers are social                                              'On Day One'
     payments for families who have lost their primary
     breadwinner," according to the report. "The United States and
     Israel argue that the payments incentivize, encourage, and
     reward terrorism, given higher monthly payments for lengthier
     prison sentences tied to more severe crimes."

     The report also identified Iranian-backed terrorist
     organizations operating in the Gaza Strip as a "serious threat"
     to the United States and Israel. This includes Hamas,
     Palestinian Islamic Jihad, and other militant groups funded by                                               Cal Cunningham Refuses to Take Position
     Tehran.                                                                                                      on Joe Biden's Refusal to Take Position on
                                                                                                                  Court Packing
     Repeated attacks by these groups, as well as Hamas's efforts
     to "build its arsenal used for terrorism against Israel were the
     primary factors in the worsening economic and humanitarian
     situation in Gaza," the report states.                                                                      ADVERTISEMENT

     "Terrorist groups and their sympathizers continued to
                                                                                                                                                        (> X
     smuggle illegal weapons and cash into the Gaza Strip via the
     few remaining underground tunnels located along the Egypt-
     Gaza border," according to the report, which notes this runs
     afoul of commitments made by Palestinian leaders to crack
     down on terror-related activities.

     The State Department also highlighted public statements                                                       How To Easily Clean Toilet
     from Palestinian president Mahmoud Abbas and other top
     officials promoting violence against Israel. Palestinian schools
     and media outlets "continue to promote the idea that Israel
     does not have a right to exist" and they "support the
     elimination of Israel on maps," according to the report. "PLO
                                                                                                                 Sponsored Stories
     and PA leaders have praised Palestinian terrorists and claimed
     that all forms of resistance are legitimate."

     Palestinian leaders continued in recent months to feed the                                                                                             3
     International Criminal Court information about alleged war
     crimes, the report notes. Both the United States and Israel
     have rejected these efforts and continue to boycott the court
     over its investigation into supposed crimes.
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                    Adam Kredo is senior writer reporting on national security and
                    foreign policy matters for the Washington Free Beacon. An
                    award-winning political reporter who has broken news from
                    across the globe, Kredo's work has been featured in the Wall
                   Street Journal, the Weekly Standard, Commentary Magazine, the
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     Twitter handle is OKredoO. His email address is kredoOfreebeacon.com.



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